19-23649-rdd       Doc 3813         Filed 09/24/21 Entered 09/24/21 11:31:41                     Main Document
                                                Pg 1 of 6



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the People of the State of California

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                          Chapter 11

 PURDUE PHARMA L.P., et al.,                                     Case No. 19-23649 (RDD)

                  Debtors.1                                      (Jointly Administered)


                                           NOTICE OF APPEAL

I.     IDENTIFY THE APPELLANT(S):

       1.        The State of California and the People of the State of California, by and through

Attorney General Rob Bonta.

       2.        Position of appellants: Creditor.


1
  The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable
jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584),
Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
SVC Pharma Inc. (4014).

                                                         1
19-23649-rdd     Doc 3813     Filed 09/24/21 Entered 09/24/21 11:31:41           Main Document
                                          Pg 2 of 6



II.   IDENTIFY THE SUBJECT OF THIS APPEAL

      1.       This appeal is from the Modified Bench Ruling on Request for Confirmation of

Eleventh Amended Joint Chapter 11 Plan (“Ruling”) [Dkt. #3786] and the Findings of Fact,

Conclusions of Law, and Order Confirming the Twelfth Amended Joint Chapter 11 Plan of

Reorganization of Purdue Pharma L.P. and Its Affiliated Debtors (“Order”) [Dkt. #3787].

Copies of the Ruling and the Order are attached as Attachment 1 and 2, respectively.

      2.       The Ruling and Order were entered on September 17, 2021.

III. IDENTIFY THE OTHER PARTIES TO THE APPEAL

      The names of all parties to the Ruling and Order, and the names, addresses and telephone

numbers of their respective attorneys, are as follows:

 PARTY                                               ATTORNEY

 Appellees
 Purdue Pharma L.P.                                  Marshall S. Huebner
 Purdue Pharma Inc.                                  Christopher Robertson
 Purdue Transdermal Technologies L.P.                Benjamin S. Kaminetzky
 Purdue Pharma Manufacturing L.P.                    Timothy Graulich
 Purdue Pharmaceuticals L.P.                         Eli Vonnegut
 Imbrium Therapeutics L.P.                           Davis Polk & Wardwell LLP
 Adlon Therapeutics L.P.                             450 Lexington Avenue
 Greenfield BioVentures L.P.                         New York, NY 10017
 Seven Seas Hill Corp.                               Tel.: (212) 450-4000
 Ophir Green Corp.
 Purdue Pharma of Puerto Rico
 Avrio Health L.P.
 Purdue Pharmaceutical Products L.P.
 Purdue Neuroscience Company
 Nyatt Cove Lifescience Inc.
 Button Land L.P.
 Rhodes Associates L.P.
 Paul Land Inc.
 Quidnick Land L.P.
 Rhodes Pharmaceuticals L.P.
 Rhodes Technologies
 UDF LP
 SVC Pharma LP
 SVC Pharma Inc.

                                                 2
19-23649-rdd    Doc 3813     Filed 09/24/21 Entered 09/24/21 11:31:41             Main Document
                                         Pg 3 of 6




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 Additional Appellants (as of the filing date)
 United States Trustee                               Ramona D. Elliott
                                                     Deputy Director/General Counsel
                                                     P. Matthew Sutko
                                                     Associate General Counsel
                                                     Sumi Sakata
                                                     Beth Levene
                                                     Wendy Cox
                                                     Trial Attorneys
                                                     Department of Justice
                                                     Executive Office for United States Trustees
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                                                             -and-
                                                     William K. Harrington
                                                     United States Trustee for Region 2
                                                     Linda A. Riffkin
                                                     Assistant United States Trustee
                                                     Paul K. Schwartzberg
                                                     Benjamin J. Higgins
                                                     Andrew D. Velez-Rivera


                                                 3
19-23649-rdd   Doc 3813     Filed 09/24/21 Entered 09/24/21 11:31:41       Main Document
                                        Pg 4 of 6



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                                          4
19-23649-rdd    Doc 3813      Filed 09/24/21 Entered 09/24/21 11:31:41            Main Document
                                          Pg 5 of 6



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                                                     Tel.: (203) 330-2213

 City of Grande Prairie as Representative            Allan Underwood II
 Plaintiff for a Class Consisting of All Canadian    Lite DePalma Greenberg & Afanador, LLC
 Municipalities, the Cities of Brantford, Grand      570 Broad Street, Suite 1201
 Prairie, Lethbridge, and Wetaskiwin                 Newark, NJ 07102
                                                     Tel.: (973) 623-3000
 The Peter Ballantyne Cree Nation on behalf of
 All Canadian First Nations and Metis People,
 the Peter Ballantyne Cree Nation on behalf of
 itself, and the Lac La Ronge Indian Band


Dated: Los Angeles, CA                           Respectfully submitted,
       September 24, 2021
                                                 /s/ Bernard A. Eskandari
                                                 BERNARD A. ESKANDARI
                                                 Supervising Deputy Attorney General




                                                 5
19-23649-rdd    Doc 3813      Filed 09/24/21 Entered 09/24/21 11:31:41           Main Document
                                          Pg 6 of 6



                                CERTIFICATE OF SERVICE

        I, Bernard A. Eskandari, hereby certify that, on September 24, 2021, I caused true and
correct copies of the foregoing document and its attachments to be served by (i) the Court’s Case
Management/Electronic Case File (CM/ECF) System to all parties who are deemed to have
consented to electronic service; (ii) email upon the parties who provided email addresses set
forth in the Master Service List maintained by the Debtors in respect of these chapter 11 cases;
and (iii) email upon the chambers of the Honorable Judge Robert D. Drain
(rdd.chambers@nysb.uscourts.gov) and the Office of the United States Trustee for the Southern
District of New York (paul.schwartzberg@usdoj.gov).

                                               /s/ Bernard A. Eskandari
                                               BERNARD A. ESKANDARI




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